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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
  Kelly L. Stephens             POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                  Filed: February 08, 2024




Ms. Carla D. Aikens
Mr. Thomas J. Davis
Mr. Eric J. Pelton


                      Re: Case No. 24-1044, Sheryl Miller v. William Beaumont Hospital
                          Originating Case No. 2:21-cv-12259

Dear Counsel,

   Briefing in this case will be held in abeyance temporarily pending a ruling on the motion to
dismiss. When this outstanding matter has been resolved, the clerk's office will issue a new
briefing schedule or give the parties other instructions.

                                                  Sincerely,

                                                  s/Gretchen S. Abruzzo
                                                  Case Manager
                                                  Direct Dial No. 513-564-7018
